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                                                         UNITED STATES DISTRICT COURT
                                                        CENTRAL DISTRICT OF CALIFORNIA
Ann Fox                                                                                  CASE NUMBER

                                                                                                                    EDCV14-00685
                                                                      PLAINTIFF(S)
                                          v.
1st Call Consultants LLC
                                                                                              NOTICE OF INTRA-DISTRICT TRANSFER
                                                                                                      BY CLERK OF COURT
                                                                    DEFENDANT(S).


  To:          All Counsel Appearing of Record

        Due to clerical error, this case was improperly assigned to the                  Western      Southern        Eastern Division of this District.
        Pursuant to General Order                98-3          02-06, this case is hereby transferred to the        Western       Southern       Eastern
        Division for all further proceedings.

        Case was opened in the CM/ECF System by counsel, and provisionally assigned to a division of this Court. After review of the
        pleadings, pursuant to the General Orders of the Court, this case is hereby transferred to the
               Western       Southern            Eastern Division.

        This case has been reassigned to case number                            CV14-02626               and has been         assigned       reassigned to
        Judge                  George H. King                        for all further proceedings.

        Any matters that are or may be referred to a Magistrate Judge are hereby                    assigned        reassigned to
        Magistrate Judge                       Jay C. Gandhi                    for:
               any discovery and/or post-judgment matters that may be referred.
               for all proceedings in accordance with General Order 05-07.

        All documents filed in this case must reflect the new case number and newly assigned Judge/Magistrate Judge initials so that the new
        case number will read:              CV14-02626-GHK(JCGx)                   . This is very important because any documents presented to the Clerk
        for filing in paper format are routed by the initials.




                                                                                       Clerk, U.S. District Court
                                                                                        By: A. Duke
                                                                                             Deputy Clerk

cc: Previously assigned Judge/Magistrate Judge; Deputy-In-Charge;
Intake Coordinator; Statistics Clerk

G-73 (04/14)                                          NOTICE OF INTRA-DISTRICT TRANSFER BY CLERK OF COURT
